                 Case 3:23-cr-05114-BHS Document 21 Filed 02/20/24 Page 1 of 2




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2                                                                 The Honorable Benjamin H. Settle
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5
                                   UNITED STATES DISTRICT COURT
6                                 WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
7

8    UNITED STATES OF AMERICA,                             No. CR23-5114 BHS

9
                     Plaintiff,
                                                           ORDER GRANTING STIPULATED
10
            v.                                             MOTION TO CONTINUE SENTENCING

11   SAUL VALDEZ,

12
                     Defendant.

13

14          This matter comes before the Court on a motion by Defendant, Saul Valdez, to continue

15   the sentencing hearing in this matter. The Government, by AUSA Kristine Foerster, stipulates to

16   the continuance. The Court, having considered the facts set forth in the motion to continue, and

17   finding good cause based on those facts, GRANTS the motion. Mr. Valdez’s sentencing hearing
18
     is hereby rescheduled to May 6th, 2024 at 2:30 p.m.
19
        DONE this 20th day of February, 2024.
20

21                                                       _______________________________
                                                         The Honorable Benjamin H. Settle
22                                                       United States District Judge
23

24

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      ORDER GRANTING STIPULATED MOTION TO                        Black & Askerov, PLLC
      CONTINUE SENTENCING                                       705 Second Avenue, Suite 1111
      (Saul Valdez; CR23-5114 BHS) - 1                               Seattle, WA 98104
                                                              206.623.1604 | Fax: 206.658.2401
              Case 3:23-cr-05114-BHS Document 21 Filed 02/20/24 Page 2 of 2




     Presented by:
1
     BLACK & ASKEROV, PLLC
2

3    s/ Christopher Black
     Christopher Black
4    Attorney for Saul Valdez
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      ORDER GRANTING STIPULATED MOTION TO             Black & Askerov, PLLC
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